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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 WELLS FARGO BANK, N.A., Successor by Merger to Wells
 Fargo Bank Minnesota, N.A. F/K/A Norwest Bank Minnesota,
 N.A., as Trustee for First Franklin Mortgage Loan Trust Series
 2004-FFH2 Asset Backed Certificates 2004-FFH2,

                 Plaintiff,                                          No.: 3:12-cv-01248-JPG-SCW
 -vs.-

 CHERRITA HENDRICKS aka Cherrita C. Hendricks;
 AMERIFIRST HOME IMPROVEMENT FINANCE CO.;
 TARGET NATIONAL BANK; TOWNSHIP OF
 CASEYVILLE; WORLDWIDE ASSET PURCHASING II,
 LLC Assignee of Bank of America NA; and UNITED
 STATES OF AMERICA,

                 Defendant.

             ORDER CONFIRMING REPORT OF SALE AND DISTRIBUTION,
         FOR POSSESSION, AND DEFICIENCY AGAINST CHERRITA HENDRICKS

          This matter is before the court on Plaintiff's motion for the entry of an order confirming

 the report of sale and distribution filed by Special Commissioner appointed by this Court (Doc.

 68). Having examined the Special Commissioner’s Report of Sale and Distribution,

          THE COURT HEREBY FINDS:

          The Special Commissioner has proceeded in accordance with the terms of this Court's

 Judgment. Said sale was fairly and properly made, and the proceeds derived therefrom were

 properly distributed, but were not sufficient to pay in full the amount due the Plaintiff, leaving a

 deficiency of $70, 222.84.

          The last inspection of the subject premises was conducted on November 19, 2014.

          Based upon said inspection, the subject premises have been identified as a single family

 property.

          The Defendant Cherrita Hendricks aka Cherrita C. Hendricks is the only defendant joined
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 in their individual capacity.

        Based upon said inspection, there are known, unidentified occupants within the subject

 premises.

        IT IS HEREBY ORDERED:

        The motion for entry of an order confirming the report of sale and distribution (Doc. 68)

 is GRANTED.

        The court hereby approves and confirms the sale of the Property involved herein by said

 Special Commissioner, the distribution by him of the proceeds of sale, the issuance of the

 Special Commissioner’s Certificate of Sale and his Report of Sale and Distribution of Proceeds

 of Sale.

        The court approves the award of the mortgagee's fees and costs arising between the entry

 of the Judgment of Foreclosure and the date of the Special Commissioner’s Sale.

        The Special Commissioner is directed, pursuant to 735 ILCS 5/15-1507(f), to execute and

 deliver to the successful bidder a recordable Certificate of Sale, and to record a duplicate thereof

 with the Office of the St. Clair County Recorder of Deeds.

        Upon request by the successful bidder, the Judicial Sales Corporation shall execute and

 deliver to the successful bidder, pursuant to 735 ILCS 5/15-1509, a deed sufficient to convey

 title, provided that all required payments have been made.

        Wells Fargo Bank, N.A., Successor by Merger to Wells Fargo Bank Minnesota, N.A.

 F/K/A Norwest Bank Minnesota, N.A., as Trustee for First Franklin Mortgage Loan Trust Series

 2004-FFH2 Asset Backed Certificates 2004-FFH2, is entitled to possession of the subject

 premises, more specifically identified and described as follows:




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                LOT 14 OF “ST. ALBERT'S TERRACE “; REFERENCE BEING HAD
                TO THE PLAT THEREOF RECORDED IN THE RECORDER'S
                OFFICE OF ST CLAIR COUNTY, ILLINOIS IN BOOK OF PLATS
                “56” ON PAGE 10. EXCEPTING COAL, OIL, GAS AND OTHER
                MINERALS EXCEPTED OR RESERVED IN PRIOR CONVEYANCES,
                IF ANY. SITUATED IN THE COUNTY OF ST CLAIR AND THE
                STATE OF ILLINOIS

                Commonly Known As: 225 Kadlec Drive, Fairview Heights, Illinois 62208

                Permanent Index No.: 03-34.01-100-047

        IT IS FURTHER ORDERED that said Property is subject to a special right of redemption

 for 30 days after the entry of this order which will allow Defendant to redeem by payment of the

 sale price plus all additional costs and expenses incurred by the mortgagee as set forth in the

 Report of Sale and confirmed by the court, together with interest at the statutory rate from the

 date the purchase price was paid or credited as an offset. If said redemption occurs, there will

 remain an IN PERSONAM against Cherrita Hendricks aka Cherrita C. Hendricks in the amount

 of $70,222.847, with the same lien priorities as to the underlying mortgage herein foreclosed.

        Effective 30 DAYS AFTER the entry of this order, the Sheriff of St. Clair County is

 directed to evict and dispossess the following named Defendants from the subject premises:

        Cherrita Hendricks aka Cherrita C. Hendricks.

        The plaintiff is ORDERED to send a copy of this Order to all Defendants via regular

 mail within 7 days of the entry of this Order.

        IT IS FURTHER ORDERED that there is no reason to delay enforcement of or appeal

 from this order.

 IT IS SO ORDERED.
 DATED: August 3, 2015
                                                  s/ J. Phil Gilbert
                                                  J. PHIL GILBERT
                                                  DISTRICT JUDGE



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